Case 1:10-cr-00317-REB Document 735-10 Filed 01/17/14 USDC Colorado Page 1of4

. NOTICE OF AND RESCISSION OF NOTICE TO THE COURT TO TERMINATE AND
WITHDRAW COURT APPOINTED COUNSEL DAVID OWEN, JR. FOR REFUSAL TO
ACKNOWLEDGE MY CONSTITUTIONAL RIGHTS AS A SOVEREIGN AND AS A
SECURED PARTY CREDITOR , NOT A FOURTEENTH AMENDMENT CITIZEN
AND FOR REFUSAL TO PROVIDE EVIDENCE THAT WOULD BE CRUCIAL TO MY
DEFENSE FOR CAUSE
NOTICE DATE: Day Fourteen Month One Year 2014 C.E,.

Clerk of the Court

United States District Court
901 19th Street, Room A-105
Denver, Colorado 80294-3589

In reply to: "Case 1:10-cr-00317-REB Document 116 Filed 01/20/11 uspc Colorado Page 1 of
3 Case No. 10~cr~00317-REB Case No. 10-cv-01073 NOTICE To THE COURT TO TERMINATE AND
WITHDRAW COURT APPOINTED COUNSEL DAVID OWEN, JR. FOR REFUSAL TO ACKNOWLEDGE MY CONSTITUTIONAL

PLEASE TAKE NOTICE that I, Richard Kellogg Armstrong, sentient moral being rescind my
signature Richard Kellogg Armstrong and the original "Case 1:10-cr~-00317~REB Document 116
Filed 01/20/11 USDC Colorado Page 1 of 3 Case No. 10-cr-00317-REB Case No. 10-cv-01073
NOTICE TO THE COURT TO TERMINATE AND WITHDRAW COURT APPOINTED COUNSEL DAVID OWEN, JR. FOR
REFUSAL TO ACKNOWLEDGE MY CONSTITUTIONAL RIGHTS AS A SOVEREIGN AND AS A SECURED PARTY
CREDITOR, NOT A FOURTEENTH AMENDMENT CITIZEN AND FOR REFUSAL TO PROVIDE EVIDENCE THAT
WOULD BE CRUCIAL TO MY DEFENSE" including every copy bearing my signature and date, for
cause. I made a mistake creating, signing and presenting the NOTICE TO THE COURT TO
TERMINATE AND WITHDRAW COURT APPOINTED COUNSEL DAVID OWEN, JR. FOR REFUSAL TO ACKNOWLEDGE
MY CONSTITUTIONAL RIGHTS AS A SOVEREIGN AND AS A SECURED PARTY CREDITOR, NOT A FOURTEENTH
AMENDMENT CITIZEN. I repent of my sin.

I willingly, knowingly, voluntarily, intentionally and intelligently perform this act
and deed.

Layy son, if you become surety for your friend, if you have shaken hands in a pledge for a stranger", 2"You
are snared by the words of your mouth; you are taken by the words of your mouth." 3"So do this, my son, and
geliver yourself; for you have come into the hand of your friend; go humble yourself; plead with your friend."
"Give no sleep to your eyes, nor slumber to your eyelids." °"Deliver yourself like a gazelle from the hand of
the hunter, and like a bird from the hand of the fowler."

T RESERVE ALL OF MY RIGHTS WITH EXPLICIT RESERVATION AND WITHOUT PREJUDICE.

Sincerely ,
FILED ich Mille yy, Crea
UNITED STATES DISTRICT COURT Richard Kellogg Armstrong
DENVER, CO c/o 20413-298
ot4 Federal Correctional
JAN 17 2 Institution ~ Lompoc
. LL 3600 Guard Road
JEFFREY P. COLE Lompoc, California

 

Page 1 of 2
Case 1:10-cr-00317-REB Document 735-10 Filed 01/17/14 USDC Colorado Page 2 of 4

Case 1:10-cr-00317-REB Document 116 Filed 01/20/11 USDC Colorado Page 1 of 3

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FROM: 20413298 201) ym

TO: Armstrong, Sharon Ja 20 AN 7:40

SUBJECT: U.S. District Court GREGORY Cob ttn, ,

DATE: 1/16/2011 3:29:26 PM CLERE SHAM

ITED STA my
DISTRICT COURT OF 7 UNITED STATES ‘08 y
UNITED STATES AMERICA Case No. 10-cr-00317-REB

Case No. 10-cv-01073

   
  

 

v
RICHARD KELLOGG NG, de jure \
Richard Kellogg An n “
20413-298 4
Federal Detention C&gtePEnglewood \
Ninety-five ninety-f ncy Avenue N

Littleton, CO [80123

 

 

 

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NOTICE TO THE CODQL Ss) TERMINATE AND WITHDRAW COU POINTED COUNSEL DAVID OWEN, JR. FOR REFU@®xTO'
ACKNOWLEDGE MY COMSTITUTIONAL RIGHTS AS A SOVEREIGRYANDNAS A SECURED PARTY CREDITOR, NOT A FOURTEE
AMENDMENT CITIZEN ANM¥FOR REFUSAL TO PROVIDE EVIDENCGRXHAT WOULD BE CRUCIAL TO MY DEFENSE,

REQUEST THAT ORT RECOGNIZE
Haines v. Kerner, 405 ‘ 919, 30 LEd 652, 92 SCt 594 Ref, Ban. 405 U.S. 948, 30 LEd 2d 819, 92 SCt 963 Vv

COMES NOW: Richard \by special RESTRICTED visitation, never by general
court is put on notit® to secure all my inalienable rights secu the Constitution 1787, the Bill of Rights 1791, Cdpstitution
of the Republic of Amgona and the enabling act that guarantees a public form of government. | am notifying this ourt That | am
not surrendering any’ rights or my standing in law as a ~’

 

    
  
   
     
  
   
 

By my filings with t ice of Director, James C. Duff, Adm)histrative Office of the United States Courts, Washing ,

Chief Counset, Willia ilkins, Internal Revenue Service dquarters, Washington, DC, the Governor of the Sta alifornia,
the Attorney General for the State of California, the Secretar\Mof State for the State of Arizona, more than twenty s federal
and international a igs as well as my UCC-1 filing with théXftate of Washington (see www. getnotice.info/rka. ht nd my
recission of all adhesion of government contracts verifies my ,

as a sovereign citizen of the State of Arizona.
| am notifying this co at any and all proceedings must re gnize all of my rights and that | only be tried or sean Wai
i of America where the judge, not a Magistrate Judge, prosecution

and all court officials are bound by their oaths of offic tovpkotect my Constitutional Rights where, if there is no injured party,

there is no cause of action

The Defendant has .. the court appointed counsel, Mr. David Owen, Jr., for his obvious lack of knowledge of
Constitutional taw, vereignty, trust documents (Executior of the RICHARD KELLOGG ARMSTRONG Estate) and has no
understanding of the@ipited States financial and monetary system including my 1099-OID filing. Also, he apparently does not
understand that thdfelbra two different types of Citizens in this country, a corporate, Fourteenth Amendment citizen and a natural
born, living, breathin sAhtient, flesh-and-blood man standing on the land, a Sovereign, of which ! am the latter (see Dyett v.
Turmer). It would b impossible to educate him in this matter and would ultimately lead to inefficient and misrepresentation of
counsel. This leaves the accused no other option than to defend my case with a court appointed assistance of counsel.
Case 1:10-cr-00317-REB Document 735-10 Filed 01/17/14 USDC Colorado Page 3 of 4

Case 1:10-cr-00317-REB Document 116 Filed 01/20/11 USDC Colorado Page 2 of 3

TRULINCS 20413298 - ARMSTRONG, RICHARD KELLOGG - Unit: ENG-J-A

The Sixth Amaidment gives me the right to assistance of counsel who must be knowledgeable in all aspects of my case.

The Eighth Anfendment to the Constitution 1787 states Clearly "EXCESSIVE BAIL SHALL NOT BE REQUIRED, NOR EXCESSIVE FINES
USUAL PUNISHMENT. INFLICTED". As a non Fourteenth Amendment citizen, Brae

  
  

    

   

United States v. son, 80 F. Supp. 649, 651 (E.D. Va. 1948), "the Supreme Court dismissed the case saygng: g¥ithout proof of the

requisite own@apip of the United States, the [offense or] vee been made out".

Defendant's c et has refused to provide evidence of counsel's petence related to this case. Therefore | am demanding
assistance of c t provided by the court (see Neder v. U.S, upp. A 527 U.S. at 8: Denial of self represegtayion at trial); (see
Johnson v. U.S -S. at 469); (see also Poindexter v. U.LS.).

0

This is to advis¢#Hat Richard Kellogg Armstrong has occupied e of Executor of the RICHARD KELLOGG ARMSTRONG Estate,
as evidenced by ré@ent Certified mailings to the Director, Admi rative Office of the U.S. Courts, Chief CO@Nmmg@RS
Headquarters, the Governor and the Attorney General of Califo nd others, and has thereby nc) doe control of all

     

Court and pris&&&bonds, sureties, insurance, indemnificatio A Xourt Registry Investment System (CRIS) bers, thereby
negating any an uthority of the court to administrate CHARD KELLOGG ARMSTRONG Estate. The mus®be no further
unwarranted i Wg) on the RICHARD KELLOGG ARMSTRONC ate,

Exigent der fi t® take judicial notice of all exhibits and documents as evidence. Wherefore, Richard KellodfAr rong requests
assistance of counsel or dismiss these cases with prejudice,

 

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This document i intended to threaten, intimidate or harra
;

Dated January 1 \

S

s
Tenth Circuit Cagrt of Appeals
James C. Rp “Administrative Office of the U.S. Courts

t isymy lawful remedy in law. XQ

 

David Owen, J&, rey
Case 1:10-cr-00317-REB Document 735-10 Filed 01/17/14 USDC Colorado Page 4 of 4

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Case 1:10-cr-00317-REB Document 116 Filed 01/20/1

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